07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 1 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 2 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 3 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 4 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 5 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 6 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 7 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 8 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                     Pg 9 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 10 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 11 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 12 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 13 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 14 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 15 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 16 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 17 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 18 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 19 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 20 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 21 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 22 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 23 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 24 of 25
07-02597-rdd   Doc 26   Filed 05/14/10 Entered 05/14/10 16:47:14   Main Document
                                    Pg 25 of 25
